  AO 442 (kcv 1 1/11) Arrcsl Wiirraiit



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                                                                                                                l/Lu.    iJ.S DD.; /.'• CO_.,-lT
                                                                                                                    Aii'X/tNDRi/;. •;!,
                      United Slates of America
                                    v.




                                                                                                 HIS. 152IM
                                                                                Case No.
        LEATRICE MALIKA DE BRUHL-DANIELS (45)
                           Mitchellville, MD



                               I fen Jam                                                       TRUE COPY I CERTIFY
                                                                                               ATTEST; September 28, 2018
                                                            ARREST WARRANT                     DAVID J. BRADLEY, Clerk of Court

 To:        Any authorized law enforcement officer
                                                                                                                                          eifulv clerk


           YOU ARE COMMANDED to arrc.sl and bring before a United Slates magistrate judge wiiiioul unnecessary delay
 'name o/perxon to he anesled)           LEATRICE MALIKA DE ^UHUDANIELS
 who is accused of an olTense or violation based on the following document fi led with the court:

□ indictment                □ Superseding indictment            □ Information     □ Superseding Information               [^Complaint
□ Probation Violation Petition                  □ Supervised Release Violation Petition    ll Violation Notice           H Order ofthe Court
This offense Is briefly dc.scribcd as follows:
   18 U S.C § 1512(c)(2) (Attempting to obstruct, influence, or Impede any official proceeding)




Date:           09/28/2018
                                                                                            Issuing ofjicer's

City and stale:         Houston, Texas                                                Peter Bray, U.S. Magistrate Judge
                                                                                              Primed name and itlle


                                                                     Return

          This warrant vvas received on (daic)          \                 , and the person was arrested on (date) ^
at icily and stale)

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                                                                                           Arre      officer's sigriaiiin


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